                                                                                                                                               Case 15-23990                      Doc 1
                                                                                                                                                                                      Filed 07/14/15 Entered 07/14/15 14:29:50 Desc Main
                                                                                                                              B1 (Official Form 1) (04/13)                               Document        Page 1 of 5
                                                                                                                                                                         United States Bankruptcy Court                       Voluntary Petition
                                                                                                                                                                           Northern District of Illinois
                                                                                                                               Name of Debtor (if individual, enter Last, First, Middle):                                      Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                                                                                Anderson, Tamara Latoria
                                                                                                                               All Other Names used by the Debtor in the last 8 years                                          All Other Names used by the Joint Debtor in the last 8 years
                                                                                                                               (include married, maiden, and trade names):                                                     (include married, maiden, and trade names):
                                                                                                                                None

                                                                                                                              Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
                                                                                                                              (if more than one, state all): 6678                                               (if more than one, state all):

                                                                                                                               Street Address of Debtor (No. and Street, City, and State)                                      Street Address of Joint Debtor (No. and Street, City, and State
                                                                                                                                2240 WEST MORSE AVENUE,
                                                                                                                                APT 2                                                                                                                                                                   ZIPCODE
                                                                                                                                                                                                   ZIPCODE
                                                                                                                                CHICAGO, IL                                                              60645
                                                                                                                               County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:

                                                                                                                                Cook
                                                                                                                               Mailing Address of Debtor (if different from street address):                                   Mailing Address of Joint Debtor (if different from street address):



                                                                                                                                                                                                   ZIPCODE                                                                                              ZIPCODE
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                                                                                                                               Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                                                                                                                                                        ZIPCODE

                                                                                                                                             Type of Debtor                                         Nature of Business                                       Chapter of Bankruptcy Code Under Which
                                                                                                                                         (Form of Organization)                                   (Check one box)                                                 the Petition is Filed (Check one box)
                                                                                                                                             (Check one box)                                          Health Care Business                              Chapter 7
                                                                                                                                   Individual (includes Joint Debtors)                                Single Asset Real Estate as defined in                                       Chapter 15 Petition for
                                                                                                                                   See Exhibit D on page 2 of this form.                              11 U.S.C. § 101 (51B)                             Chapter 9                  Recognition of a Foreign
                                                                                                                                   Corporation (includes LLC and LLP)                                 Railroad                                                                     Main Proceeding
                                                                                                                                   Partnership                                                        Stockbroker                                       Chapter 11
                                                                                                                                   Other (If debtor is not one of the above entities,                 Commodity Broker                                  Chapter 12                 Chapter 15 Petition for
                                                                                                                                   check this box and state type of entity below.)                    Clearing Bank                                                                Recognition of a Foreign
                                                                                                                                                                                                                                                        Chapter 13
                                                                                                                                                                                                      Other    N.A.                                                                Nonmain Proceeding
                                                                                                                                                 Chapter 15 Debtors                                           Tax-Exempt Entity                                           Nature of Debts
                                                                                                                                                                                                            (Check box, if applicable)                                    (Check one box)
                                                                                                                               Country of debtor’s center of main interests:                                                                            Debts are primarily consumer
                                                                                                                                                                                                                                                                                                Debts are
                                                                                                                                                                                                          Debtor is a tax-exempt organization           debts, defined in 11 U.S.C.
                                                                                                                                                                                                                                                                                                primarily
                                                                                                                               Each country in which a foreign proceeding by,                             under Title 26 of the United States           §101(8) as "incurred by an
                                                                                                                                                                                                                                                                                                business debts.
                                                                                                                               regarding, or against debtor is pending:                                   Code (the Internal Revenue Code)              individual primarily for a
                                                                                                                                                                                                                                                        personal, family, or
                                                                                                                                                                                                                                                        household purpose."
                                                                                                                                                           Filing Fee (Check one box)                                                                           Chapter 11 Debtors
                                                                                                                                                                                                                                       Check one box:
                                                                                                                                      Full Filing Fee attached                                                                                Debtor is a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                                                                                                                                                              Debtor is not a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                                                      Filing Fee to be paid in installments (applicable to individuals only) Must attach                 Check if:
                                                                                                                                      signed application for the court's consideration certifying that the debtor is unable                  Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                                                      to pay fee except in installments. Rule 1006(b). See Official Form 3A.                                 insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
                                                                                                                                                                                                                                             on 4/01/16 and every three years thereafter).
                                                                                                                                                                                                                                         Check all applicable boxes
                                                                                                                                      Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
                                                                                                                                                                                                                                             A plan is being filed with this petition.
                                                                                                                                      attach signed application for the court’s consideration. See Official Form 3B.
                                                                                                                                                                                                                                             Acceptances of the plan were solicited prepetition from one or more
                                                                                                                                                                                                                                             classes of creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                                                                                Statistical/Administrative Information                                                                                                                                  THIS SPACE IS FOR
                                                                                                                                                                                                                                                                                                        COURT USE ONLY
                                                                                                                                  Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                                                                                  Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                                                                                  distribution to unsecured creditors.
                                                                                                                              Estimated Number of Creditors

                                                                                                                               1-49           50-99           100-199           200-999         1,000-           5,001-           10,001-            25,001-         50,001-          Over
                                                                                                                                                                                                5,000            10,000           25,000             50,000          100,000          100,000
                                                                                                                              Estimated Assets

                                                                                                                              $0 to          $50,001 to      $100,001 to       $500,001      $1,000,001       $10,000,001      $50,000,001        $100,000,001     $500,000,001      More than
                                                                                                                              $50,000        $100,000        $500,000          to $1         to $10           to $50           to $100            to $500          to $1 billion     $1 billion
                                                                                                                                                                               million       million          million          million            million
                                                                                                                              Estimated Liabilities

                                                                                                                              $0 to          $50,001 to      $100,001 to        $500,001     $1,000,001       $10,000,001      $50,000,001        $100,000,001     $500,000,001      More than
                                                                                                                              $50,000        $100,000        $500,000           to $1        to $10           to $50           to $100            to $500          to $1 billion     $1 billion
                                                                                                                                                                                million      million          million          million            million
                                                                                                                              B1 (OfficialCase
                                                                                                                                          Form 1) (04/13)
                                                                                                                                               15-23990                      Doc 1          Filed 07/14/15                Entered 07/14/15 14:29:50                             Desc Main                Page 2
                                                                                                                              Voluntary Petition                                               Document                   Page   2Debtor(s):
                                                                                                                                                                                                                           Name of of 5
                                                                                                                              (This page must be completed and filed in every case)                                       Tamara Latoria Anderson
                                                                                                                                                       All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                                                                              Location                                                                              Case Number:                                       Date Filed:
                                                                                                                              Where Filed:           NONE

                                                                                                                               Location                                                                             Case Number:                                       Date Filed:
                                                                                                                               Where Filed:
                                                                                                                                                     N.A.
                                                                                                                                         Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                                                                               Name of Debtor: NONE                                                    Case Number:                                   Date Filed:


                                                                                                                               District:                                                                             Relationship:                                     Judge:


                                                                                                                                                              Exhibit A                                                                                      Exhibit B
                                                                                                                                                                                                                                              (To be completed if debtor is an individual
                                                                                                                              (To be completed if debtor is required to file periodic reports (e.g., forms                                    whose debts are primarily consumer debts)
                                                                                                                              10K and 10Q) with the Securities and Exchange Commission pursuant to
                                                                                                                              Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting            I, the attorney for the petitioner named in the foregoing petition, declare that I
                                                                                                                              relief under chapter 11)                                                                have informed the petitioner that [he or she] may proceed under chapter 7, 11,
                                                                                                                                                                                                                      12, or 13 of title 11, United States Code, and have explained the relief
                                                                                                                                                                                                                      available under each such chapter. I further certify that I delivered to the
                                                                                                                                                                                                                      debtor the notice required by 11 U.S.C. § 342(b).

                                                                                                                                       Exhibit A is attached and made a part of this petition.                        X                                                              07/14/2015
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                                                                                                                                                                                                                            Signature of Attorney for Debtor(s)                         Date


                                                                                                                                                                                                            Exhibit C
                                                                                                                              Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

                                                                                                                                       Yes, and Exhibit C is attached and made a part of this petition.

                                                                                                                                       No.

                                                                                                                                                                                                             Exhibit D
                                                                                                                                (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                                                                                           Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                                                                               If this is a joint petition:
                                                                                                                                           Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.


                                                                                                                                                                                          Information Regarding the Debtor - Venue
                                                                                                                                                                                                       (Check any applicable box)
                                                                                                                                                       Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                                                                                                       preceding the date of this petition or for a longer part of such 180 days than in any other District.

                                                                                                                                                       There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.


                                                                                                                                                       Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United Sates in this District, or
                                                                                                                                                       has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in federal or state court] in
                                                                                                                                                       this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                                                                                                                                 Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                                                                        (Check all applicable boxes)
                                                                                                                                                       Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                                                                                                       (Name of landlord that obtained judgment)


                                                                                                                                                                                                        (Address of landlord)
                                                                                                                                                       Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                                                                                                                                                       entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                                                                                                       Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                                                                                                                                                       filing of the petition.
                                                                                                                                                       Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1)).
                                                                                                                                              Case 15-23990                Doc 1         Filed 07/14/15              Entered 07/14/15 14:29:50                                 Desc Main
                                                                                                                              B1 (Official Form 1) (04/13)                                  Document                 Page 3 of 5                                                                              Page 3
                                                                                                                              Voluntary Petition                                                                     Name of Debtor(s):
                                                                                                                              (This page must be completed and filed in every case)                                 Tamara Latoria Anderson
                                                                                                                                                                                                             Signatures
                                                                                                                                          Signature(s) of Debtor(s) (Individual/Joint)                                                Signature of a Foreign Representative
                                                                                                                                I declare under penalty of perjury that the information provided in this petition
                                                                                                                                is true and correct.
                                                                                                                                [If petitioner is an individual whose debts are primarily consumer debts and         I declare under penalty of perjury that the information provided in this petition
                                                                                                                                has chosen to file under chapter 7] I am aware that I may proceed under              is true and correct, that I am the foreign representative of a debtor in a foreign
                                                                                                                                chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief      proceeding, and that I am authorized to file this petition.
                                                                                                                                available under each such chapter, and choose to proceed under chapter 7.
                                                                                                                                [If no attorney represents me and no bankruptcy petition preparer signs the          (Check only one box.)
                                                                                                                                petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                                                                                                                                                I request relief in accordance with chapter 15 of title 11, United States Code.
                                                                                                                                I request relief in accordance with the chapter of title 11, United States                      Certified copies of the documents required by 11 U.S.C. § 1515 of title 11 are
                                                                                                                                Code, specified in this petition.                                                               attached.

                                                                                                                                                                                                                                Pursuant to 11 U.S.C.§ 1511, I request relief in accordance with the chapter of
                                                                                                                                                                                                                                title 11 specified in this petition.  A certified copy of the order granting
                                                                                                                                                                                                                                recognition of the foreign main proceeding is attached.
                                                                                                                                X
                                                                                                                                    Signature of Debtor                                                                X
                                                                                                                                                                                                                           (Signature of Foreign Representative)
                                                                                                                                X
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                                                                                                                                    Signature of Joint Debtor

                                                                                                                                                                                                                            (Printed Name of Foreign Representative)
                                                                                                                                     Telephone Number (If not represented by attorney)

                                                                                                                                     07/14/2015
                                                                                                                                                                                                                             (Date)
                                                                                                                                     Date

                                                                                                                                                     Signature of Attorney*                                                     Signature of Non-Attorney Petition Preparer
                                                                                                                               X
                                                                                                                                    Signature of Attorney for Debtor(s)                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer
                                                                                                                                                                                                                      as defined in 11 U.S.C. § 110, (2) I prepared this document for compensation,
                                                                                                                                    STEVEN A. LEAHY 0303-20277R                                                       and have provided the debtor with a copy of this document and the notices and
                                                                                                                                    Printed Name of Attorney for Debtor(s)
                                                                                                                                                                                                                      information required under 11 U.S.C. § 110(b), 110(h), and 342(b); and, (3) if
                                                                                                                                                                                                                      rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h)
                                                                                                                                    Law Office of Steven A. Leahy, PC                                                 setting a maximum fee for services chargeable by bankruptcy petition
                                                                                                                                    Firm Name                                                                         preparers, I have given the debtor notice of the maximum amount before any
                                                                                                                                    150 North Michigan Avenue                                                         document for filing for a debtor or accepting any fee from the debtor, as
                                                                                                                                    Address                                                                           required in that section. Official Form 19 is attached.

                                                                                                                                    Suite 1120Chicago, IL 60601
                                                                                                                                                                                                                      Printed Name and title, if any, of Bankruptcy Petition Preparer
                                                                                                                                    312-664-6649
                                                                                                                                   Telephone Number
                                                                                                                                                                                                                      Social Security Number (If the bankruptcy petition preparer is not an individual,
                                                                                                                                    07/14/2015                                                                        state the Social Security number of the officer, principal, responsible person or
                                                                                                                                  Date                                                                                partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                                                                               *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
                                                                                                                               certification that the attorney has no knowledge after an inquiry that the
                                                                                                                               information in the schedules is incorrect.                                              Address

                                                                                                                                       Signature of Debtor (Corporation/Partnership)
                                                                                                                                 I declare under penalty of perjury that the information provided in this petition
                                                                                                                                 is true and correct, and that I have been authorized to file this petition on       X
                                                                                                                                 behalf of the debtor.

                                                                                                                                 The debtor requests relief in accordance with the chapter of title 11,                  Date
                                                                                                                                 United States Code, specified in this petition.
                                                                                                                                                                                                                         Signature of bankruptcy petition preparer or officer, principal, responsible
                                                                                                                                                                                                                         person, or partner whose Social Security number is provided above.
                                                                                                                               X
                                                                                                                                    Signature of Authorized Individual                                                   Names and Social Security numbers of all other individuals who prepared or
                                                                                                                                                                                                                         assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                                                                                                                                                         not an individual:
                                                                                                                                    Printed Name of Authorized Individual
                                                                                                                                                                                                                         If more than one person prepared this document, attach additional sheets
                                                                                                                                                                                                                         conforming to the appropriate official form for each person.
                                                                                                                                    Title of Authorized Individual
                                                                                                                                                                                                                         A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                                                                                                                                                                         and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                                                                   Date                                                                                  imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.
                                                                                                                                      Case 15-23990                Doc 1   Filed 07/14/15   Entered 07/14/15 14:29:50   Desc Main
                                                                                                                                                                              Document      Page 4 of 5
                                                                                                                              B1 D (Official Form 1, Exhibit D ) (12/09)


                                                                                                                                                                  UNITED STATES BANKRUPTCY COURT
                                                                                                                                                                             Northern District of Illinois




                                                                                                                                    Tamara Latoria Anderson
                                                                                                                              In re______________________________________                                Case No._____________
                                                                                                                                             Debtor(s)                                                         (if known)


                                                                                                                                         EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                                                                                                                                         CREDIT COUNSELING REQUIREMENT

                                                                                                                                      Warning: You must be able to check truthfully one of the five statements regarding
                                                                                                                              credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
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                                                                                                                              case, and the court can dismiss any case you do file. If that happens, you will lose whatever
                                                                                                                              filing fee you paid, and your creditors will be able to resume collection activities against
                                                                                                                              you. If your case is dismissed and you file another bankruptcy case later, you may be
                                                                                                                              required to pay a second filing fee and you may have to take extra steps to stop creditors'
                                                                                                                              collection activities.

                                                                                                                                     Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
                                                                                                                              must complete and file a separate Exhibit D. Check one of the five statements below and attach
                                                                                                                              any documents as directed.

                                                                                                                                     1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                                              from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                                              administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                                              performing a related budget analysis, and I have a certificate from the agency describing the
                                                                                                                              services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
                                                                                                                              developed through the agency.

                                                                                                                                      2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                                              from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                                              administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                                              performing a related budget analysis, but I do not have a certificate from the agency describing
                                                                                                                              the services provided to me. You must file a copy of a certificate from the agency describing the
                                                                                                                              services provided to you and a copy of any debt repayment plan developed through the agency
                                                                                                                              no later than 14 days after your bankruptcy case is filed.
                                                                                                                                      Case 15-23990               Doc 1        Filed 07/14/15    Entered 07/14/15 14:29:50   Desc Main
                                                                                                                              B1 D (Official Form 1, Exh. D) (12/09) – Cont.
                                                                                                                                                                                  Document       Page 5 of 5                   Page 2


                                                                                                                                      3. I certify that I requested credit counseling services from an approved agency but
                                                                                                                              was unable to obtain the services during the seven days from the time I made my request, and the
                                                                                                                              following exigent circumstances merit a temporary waiver of the credit counseling requirement
                                                                                                                              so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                                                                                     If your certification is satisfactory to the court, you must still obtain the credit
                                                                                                                              counseling briefing within the first 30 days after you file your bankruptcy petition and
                                                                                                                              promptly file a certificate from the agency that provided the counseling, together with a
                                                                                                                              copy of any debt management plan developed through the agency. Failure to fulfill these
                                                                                                                              requirements may result in dismissal of your case. Any extension of the 30-day deadline
                                                                                                                              can be granted only for cause and is limited to a maximum of 15 days. Your case may also
                                                                                                                              be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
                                                                                                                              without first receiving a credit counseling briefing.
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                                                                                                                                     4. I am not required to receive a credit counseling briefing because of: [Check the
                                                                                                                              applicable statement.] [Must be accompanied by a motion for determination by the court.]
                                                                                                                                             Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
                                                                                                                                     illness or mental deficiency so as to be incapable of realizing and making rational
                                                                                                                                     decisions with respect to financial responsibilities.);
                                                                                                                                             Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
                                                                                                                                     extent of being unable, after reasonable effort, to participate in a credit counseling
                                                                                                                                     briefing in person, by telephone, or through the Internet.);
                                                                                                                                             Active military duty in a military combat zone.

                                                                                                                                     5. The United States trustee or bankruptcy administrator has determined that the credit
                                                                                                                              counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

                                                                                                                                     I certify under penalty of perjury that the information provided above is true and
                                                                                                                              correct.



                                                                                                                                                           Signature of Debtor:
                                                                                                                                                                                                TAMARA LATORIA ANDERSON

                                                                                                                                                                                          07/14/2015
                                                                                                                                                                                 Date: _________________
